     CASE 0:12-cr-00026-JRT-JSM Document 848 Filed 12/12/12 Page 1 of 17



                        UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                                     Criminal No. 12-26(1) (JRT/JSM)

                                   Plaintiff,
                                                           ORDER ON REPORT AND
v.                                                        RECOMMENDATION DATED
                                                              AUGUST 6, 2012
WAKINYON WAKAN MCARTHUR,

                                 Defendant.


      Andrew R. Winter and Steven L. Schleicher, Assistant United States
      Attorneys, UNITED STATES ATTORNEY’S OFFICE, 600 United
      States Courthouse, 300 South Fourth Street, Minneapolis, MN 55415, for
      plaintiff.

      Frederick J. Goetz, GOETZ & ECKLAND PA, 43 Main Street Southeast,
      Suite 505, Minneapolis, MN 55414, for defendant.


      The    United    States    filed   a      superseding    indictment   against   defendant

Wakinyon Wakan McArthur and other defendants, alleging that McArthur is a member

of the Native Mob gang and engaged in a conspiracy to participate in racketeering

activity, among other crimes. United States Magistrate Judge Janie S. Mayeron issued a

report and recommendation (“R&R”), recommending that McArthur’s motion to suppress

statements be denied in part, and that his motion to suppress evidence obtained as a result

of searches and seizures be denied. (Docket No. 731.) McArthur has filed objections to

these recommendations. (Docket No. 756.) Having reviewed de novo those portions of

the Magistrate Judge’s R&R to which McArthur objects, see 28 U.S.C. § 636(b)(1),




23
     CASE 0:12-cr-00026-JRT-JSM Document 848 Filed 12/12/12 Page 2 of 17



D. Minn. L.R. 72.2, the Court will adopt in part and reject in part the R&R. The Court

will grant McArthur’s motion to suppress statements because the United States has failed

to demonstrate that the statements were not in response to custodial interrogation without

Miranda warnings.       The Court will deny McArthur’s motion to suppress evidence

because the warrants authorizing the searches and seizures were supported by probable

cause.1


I.     MOTION TO SUPPRESS STATEMENTS

       A.      Background

       McArthur first objects to the Magistrate Judge’s recommendation that his motion

to suppress certain statements be denied. On February 18, 2011, police officers executed

a search warrant at McArthur’s residence. (Tr. of Mots. Hearing (“Tr.”) 159, May 30,

2012, Docket No. 640.) Officers arrived at the residence at approximately 7:55 AM,

knocked on the door, and entered after someone opened the door. (Tr. 160, 167.) Once

inside, the officers ordered McArthur to the ground and put him in handcuffs. (Tr. 162.)

Officers directed McArthur and his girlfriend to sit on the couch in the living room.

(Tr. 162, 167-68.) There were at least ten officers in the home. (Tr. 85.) The United




       1
          The Court will deny McArthur’s motion to suppress his statements made on
February 18, 2011, that were overheard by ATF Special Agent Russell Traurig as moot, based on
the United States’s representations to the Magistrate Judge that it would not use those statements

                                              -2-
     CASE 0:12-cr-00026-JRT-JSM Document 848 Filed 12/12/12 Page 3 of 17



States conceded that, during this search of McArthur’s residence, McArthur was in

custody. (See R&R at 23-25.)2

       While McArthur was in custody in the home, he had conversations with police

officers, including Investigator Jerome Wilhelmy. (Tr. 88-89, 176.) The Magistrate

Judge concluded that Wilhelmy interrogated McArthur about an alleged hit out on a

Native Mob member and that, because McArthur was not given Miranda warnings,

McArthur’s statements in response to this questioning should be suppressed. (R&R at

25-27.) There was no objection filed to this recommendation.3

       The issue raised by McArthur’s objections is whether the Court should suppress

additional statements, allegedly overheard by Mille Lacs Tribal Police Department

Officer Michael Dieter, that McArthur made while in custody during the search of his

home. Dieter stood near McArthur for several minutes while the other agents searched

McArthur’s residence, and Dieter did not ask McArthur any questions during this time.

(Tr. 162.)

       Dieter testified that, while he stood near McArthur, there was a small plastic

baggie of marijuana on the coffee table in plain view. (Tr. 163, 170.) Dieter allegedly

heard McArthur state that the marijuana was for recreational use.            (Tr. 163, 170.)




       2
         There has been no objection to the Magistrate Judge’s conclusion that McArthur was in
custody, and this Court concludes based on the evidence presented that McArthur was in
custody.
       3
       For the reasons outlined by the Magistrate Judge, this Court likewise concludes that
McArthur’s statements in response to Wilhelmy’s questioning should be suppressed.



                                            -3-
     CASE 0:12-cr-00026-JRT-JSM Document 848 Filed 12/12/12 Page 4 of 17



McArthur made this statement approximately a minute or two after being seated on the

couch. (Tr. 170.)

       Dieter acknowledged that McArthur made the statement about recreational use

after an officer lifted the baggie off the coffee table “right in front of McArthur’s face,”

looked at the baggie, and set it back down. (Tr. 170-72, 175.)4 Dieter testified that he

did not recall officers saying anything about the marijuana before McArthur made the

statement about recreational use, although Dieter did not rule out that an officer may have

said something to him.        (Tr. 171-72, 175.)       Specifically, Dieter responded at the

evidentiary hearing as follows:

       Q.      [W]hen that agent picked [up the marijuana] and looked at it they
               said something, didn’t they?
       A.      I can’t – I don’t believe so. No, I don’t recall.
       Q.      Okay. So they could have said something?
       A.      Possibly. I don’t remember it . . . .
       Q.      And you can’t remember if [the officer] said anything while he was
               examining [the marijuana]?
       A.      No . . . .
       Q.      [An agent] picked the Baggie up right in front of [McArthur’s] face,
               may have said something, and that’s when [McArthur] made the
               statements, correct?
       A.      Right.
       Q.      And you don’t remember [McArthur] interacting with any agent at
               this scene?
       A.      Not specifically. I know it happened but I’m not specific as far as
               what happened or what the conversations were about. A lot of the
               other agents have more of a history with him than I do.


       4
        It is unclear from the testimony if McArthur made the statement about recreational use
when the officer picked up the bag, when he looked at it or held it, or after he put the bag down.

                                              -4-
     CASE 0:12-cr-00026-JRT-JSM Document 848 Filed 12/12/12 Page 5 of 17



       Q.     So I’m sorry. To be clear, were there other agents who were having
              conversations with McArthur?
       A.     Yes, but I don’t recall who or what was talked about.

(Tr. 171-72, 175-76.)

       In addition to the statement about recreational use, Dieter heard McArthur say that

“[t]here ain’t gonna be no big bust here today.” (Tr. 163.) Dieter testified that he did not

observe any officers ask McArthur a question that would have prompted McArthur to

make that statement. (Id.) Dieter did not testify regarding when the “big bust” statement

occurred.   It is unclear if McArthur made this statement after the comment about

recreational use, and it is also unclear when either statement overheard by Dieter

occurred in relation to Wilhelmy’s questioning.5

       When McArthur allegedly made these two statements, he appeared calm, there

were no signs of alcohol intoxication or controlled substance use, and he appeared to

understand what was happening. (Tr. 163-64.) There is no evidence that officers made

promises or threats to McArthur. (See Tr. 164.)

       Dieter’s memory was unclear on a variety of facts surrounding McArthur’s time in

custody. Dieter could not remember which officers were tasked with searching the living

room (Tr. 170), if anyone was searching the living room when McArthur made the

statements at issue (Tr. 171), anything other officers said while the warrant was being

executed (Tr. 173), whether Wilhelmy had a conversation with McArthur (Tr. 174), or

any conversations that McArthur had with other agents and whether those conversations


       5
          Dieter stated that a conversation between Wilhelmy and McArthur could have occurred
“right in front” of him but that he did not remember it. (See Tr. 174-75.)

                                            -5-
     CASE 0:12-cr-00026-JRT-JSM Document 848 Filed 12/12/12 Page 6 of 17



involved gangs or drugs (Tr. 175-76). The Court notes that Dieter’s statement that he did

not know if anyone was searching the living room when McArthur made the statements

at issue appears to contradict his statement that McArthur made the statement about

recreational use after an officer put the baggie in front of his face. (See Tr. 171, 175.)


       B.        Analysis

       The Magistrate Judge found that, although McArthur was in custody, the

statements Dieter overheard were not in response to questioning or the functional

equivalent of questioning from law enforcement. Specifically, the Magistrate Judge

concluded that there was no evidence presented that an officer brought the baggie up to

McArthur’s face, picked up the baggie to elicit a comment from McArthur, or made any

comments about the marijuana.6 In his objections, McArthur argues that the Court must

suppress his statements about recreational use and a “big bust” because entering them

would violate his Miranda rights.

       A person in police custody must receive Miranda warnings before being subject to

interrogation. United States v. Head, 407 F.3d 925, 928 (8th Cir. 2005). To determine

whether an officer’s conduct amounts to interrogation, the standard is whether the officer

engaged in express questioning or its functional equivalent. Rhode Island v. Innis, 446

U.S. 291, 300-01 (1980). This standard incorporates officers’ words or actions, other

than those normally incident to custody, which they should know are reasonably likely to

result in an incriminating response. Id. When a suspect in custody makes spontaneous


       6
           The Magistrate Judge did not discuss the lack of clarity in Dieter’s memory.

                                                -6-
     CASE 0:12-cr-00026-JRT-JSM Document 848 Filed 12/12/12 Page 7 of 17



statements to an officer, no interrogation can be imputed to the officer. See, e.g., United

States v. Tail, 459 F.3d 854, 857-58 (8th Cir. 2006).

       McArthur satisfied his burden of production for the motion to suppress by alleging

that he underwent express questioning or the functional equivalent of questioning by law

enforcement in the absence of Miranda warnings. See United States v. Miller, 382

F. Supp. 2d 350, 362 (N.D.N.Y. 2005); (Docket No. 473). The burden thus shifted to the

United States to prove by a preponderance of the evidence that McArthur’s statements

were not taken in violation of Miranda. See id.; United States v. Love, 189 F.R.D. 557,

559 (D. Minn. 1999) (placing burden of raising suppression issues on the defendant and

the burden of proving admissibility on the government).7

       The Court will sustain McArthur’s objections and suppress the two statements at

issue because the United States has not met its burden of showing that the statements

were not taken in violation of Miranda. The only witness to testify regarding the alleged

statements, Dieter, had an unclear memory of events surrounding McArthur’s time in

custody and thus did not establish by a preponderance of the evidence that McArthur

spontaneously made the statements at issue.           For example, Dieter seemed to offer

       7
          See also Kaupp v. Texas, 538 U.S. 626, 632-33 (2003) (placing burden on the United
States to demonstrate that defendant’s confession was an act of free will); Colorado v. Connelly,
479 U.S. 157, 168 (1986) (“Whenever the State bears the burden of proof in a motion to suppress
a statement that the defendant claims was obtained in violation of our Miranda doctrine, the
State need prove waiver only by a preponderance of the evidence.”); United States v. Ollie, 442
F.3d 1135, 1142-43 (8th Cir. 2006) (holding that the United States must prove the admissibility
of statements when the defendant’s suppression motion alleges that officers attempted to
circumvent Miranda by interrogating the defendant, then giving Miranda warnings, then re-
interrogating the defendant); United States v. Foster, 752 F. Supp. 2d 1060, 1063 (D. Minn.
2010) (“When a defendant contends that the government obtained evidence in violation of the
Constitution, the government must prove by a preponderance of the evidence that the challenged
evidence is admissible.”).

                                              -7-
     CASE 0:12-cr-00026-JRT-JSM Document 848 Filed 12/12/12 Page 8 of 17



inconsistent statements about whether other officers were searching the living room at the

time of McArthur’s statements. Dieter also had no memory of Wilhelmy’s conversation

about gang activity with McArthur, although Wilhelmy claims that this conversation

occurred and Dieter acknowledged that the conversation could have occurred in his

presence. Dieter’s unclear memory about the events surrounding McArthur’s time in

custody raises the significant possibility that he does not remember modes of

interrogation that may have prompted McArthur’s statements. See Holman v. Kemna,

212 F.3d 413, 418-19 (8th Cir. 2000) (construing ambiguous facts in favor of defendant

for issue raised in motion to suppress).

       Indeed, Dieter acknowledged the possibility that an officer may have said

something to McArthur prior to McArthur making the statements at issue. In particular,

Dieter said it was possible that the officer who picked up the marijuana right in front of

McArthur’s face might have said something to McArthur, although Dieter recalled no

such statement.      The Court cannot conclude that McArthur’s statements were

spontaneous when the only witness to such statements is unsure if they were made in

response to an interrogation.

       Furthermore, the United States failed to establish that holding the marijuana in

front of McArthur’s face was not the functional equivalent of interrogation. See Innis,

446 U.S. at 300-01. An officer’s mere discovery of a piece of evidence during a search is

not the functional equivalent of interrogation.    See, e.g., United States v. Hawkins,

102 F.3d 973, 975-76 (8th Cir. 1996) (finding no Miranda violation where “it was the

discovery of illegal drugs in [defendant’s] home, not police coercion, that induced the


                                           -8-
     CASE 0:12-cr-00026-JRT-JSM Document 848 Filed 12/12/12 Page 9 of 17



incriminating statements”).8 Here, however, Dieter stated that an officer lifted the baggie

off the coffee table right in front of McArthur’s face. McArthur characterizes this

statement as meaning that the officer held a bag of drugs in his face. The United States

disputes this claim and points out that Dieter never said directly that the officer held the

bag for a long period of time or pushed it into McArthur’s face. The Court concludes that

it is ambiguous whether McArthur or the United States’s interpretation of the facts is

more accurate, as Dieter provided no details about how long the baggie was held in front

of McArthur’s face, how close the baggie was to his face, the officer’s demeanor when

lifting the baggie, or any other circumstances surrounding the lifting of the baggie.

Accordingly, the Court cannot determine if the officer should have known that the lifting

of the baggie was reasonably likely to elicit an incriminating response from McArthur.

See Innis, 446 U.S. at 301.        Because Dieter’s memory and testimony surrounding

McArthur’s statement about recreational use are unclear, the Court concludes that the

United States has not met its burden of showing that this statement is admissible.

       A closer question is whether McArthur’s alleged statement that “[t]here ain’t

gonna be no big bust here today” is admissible. Dieter’s testimony was somewhat firmer

regarding whether this statement was in response to interrogation, as he testified that he

did not observe any officers ask McArthur a question that would have prompted this




       8
          See also People v. Clark, 542 N.E.2d 138, 140-41 (Ill. App. Ct. 1989) (holding that an
officer finding a gun on the defendant’s person and stating “look at this” was not interrogation,
where there was no evidence that the officer held up the gun for defendant’s view or otherwise
made an effort to display the gun).

                                              -9-
       CASE 0:12-cr-00026-JRT-JSM Document 848 Filed 12/12/12 Page 10 of 17



statement.9 However, the significant gaps in Dieter’s recollections surrounding the time

when McArthur was in custody undermine his credibility as a whole.                  Even more

critically, Dieter did not testify when this statement occurred; for example, it may have

been made directly after the statement about recreational use. In fact, it appears quite

possible that the statement about a “big bust” occurred immediately after the statement

about recreational use because Dieter only stood near McArthur for a short period of time

and because the “big bust” statement was seemingly related to small marijuana baggie.

Thus, it is possible that any interrogation that may have prompted the recreational use

statement also prompted the “big bust” statement. Accordingly, the Court will sustain

McArthur’s objections and suppress the two statements allegedly overheard by Dieter.


II.      MOTION TO SUPPRESS EVIDENCE

         A.       Background10

                  1.     XXX Maple Street

         McArthur further objects to the recogmmendation that his motion to suppress

evidence obtained as a result of the searches of XXX Maple Street and XXX Grant Utley

Avenue NW be denied.

         ATF Special Agent Russell Traurig applied for a search warrant on February 17,

2011 to search the Maple Street residence, which was believed to be one of several


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          Unlike with the statement regarding recreational use, Dieter was never asked how
certain he was that no one asked a question that prompted this statement.
         10
              The R&R provides a more detailed factual background on this motion. (See R&R at 5-
15.)

                                               - 10 -
    CASE 0:12-cr-00026-JRT-JSM Document 848 Filed 12/12/12 Page 11 of 17



residences used by defendants McArthur and Christopher Wuori. (See United States

Ex. 12 at 22.) The warrant sought documentary evidence of criminal activity, including

records associated with drug trafficking and related proceeds and gang activity. (Id. at

28.) The warrant was signed and executed on February 17, 2011. (Id. at 40.) It

authorized the search for documents and records relating to the Native Mob gang and the

purchase and distribution of narcotics; documents related to travel; financial records;

currency; photographs and photograph albums relating to the Native Mob gang and its

members or narcotics; documents reflecting the addresses or telephone numbers of

coconspirators, other gang member or customers; documents showing occupancy of the

residence; and newspaper clippings or letters relating to any crime. (Id. at 34-35, 40.)

       The affidavit in support of the search warrant provided a variety of information. It

included information about the Native Mob’s structure and activities since the mid-1990s.

(Id. at 23-24.) It explained that McArthur was the current “Chief” of the Native Mob and

that he held meetings to discuss the illegal activities of Native Mob members, including

drug trafficking. (Id. at 24.) Confidential informants had provided information about

McArthur’s illegal activities from 2009 and 2010. (Id. at 26-28.) The affidavit described

how it is common for drug traffickers to maintain and retain financial records and other

information related to their illegal activities after the commission of a crime in their

residences. (Id. at 24-26.) Furthermore, the affidavit explained that McArthur resided at

the Maple Street residence, citing evidence including a personal contact made with

McArthur at the residence on February 17, 2011. (Id. at 26.) Based on this information,

Traurig stated that he believed law enforcement would find documentary evidence of


                                           - 11 -
     CASE 0:12-cr-00026-JRT-JSM Document 848 Filed 12/12/12 Page 12 of 17



criminal activity at the residence, including records associated with drug trafficking and

related proceeds and gang activity. (Id. at 28.)


               2.     XXX Grant Utley Avenue NW

         DEA Special Agent Travis Ocken applied for a search warrant on January 20,

2012, to search the Grant Utley Avenue residence. (United States Ex. 11 at 11.) The

warrant was signed and executed on January 20, 2012. (Id. at 7.) Like the Maple Street

warrant, this warrant sought documentary evidence of criminal activity, including records

associated with the racketeering activities of the Native Mob. (Id. at 9, 63.) The Grant

Utley Avenue search warrant authorized the search for documents, records, and items

relating to the Native Mob gang, including but not limited to documents evidencing gang

indicia, membership lists, nickname lists, phone numbers, gang law, lists of firearms in

the gang’s possession, gang-related graffiti, and lists of money in the gang’s possession;

property indicating membership in the Native Mob, including clothing with gang colors

or other symbols; photographs and other media containing the images of co-conspirators

and gang members (with or without assets or contraband); items showing occupancy of

the residence; and pagers, cellular telephones, answering machines, computer hard drives,

and other electronic media that could contain any of the above-mentioned items. (Id.

at 9.)

         The affidavit in support of the search warrant provided a variety of information. It

explained that McArthur asserted control over the Native Mob upon his release from

prison in 2007 and that he was now indicted in a federal racketeering conspiracy. (Id.



                                            - 12 -
    CASE 0:12-cr-00026-JRT-JSM Document 848 Filed 12/12/12 Page 13 of 17



¶¶ 4-5, 18, 35.) It included information about the Native Mob’s structure and illegal

activities.   (Id. ¶ 7.)   It further described the information provided by cooperating

witnesses about McArthur’s illegal activities from 2009 and 2010 and as recently as

May 16, 2011. (Id. ¶¶ 20-29, 35.) In addition, the affidavit described how gang members

often keep the names of phone numbers of other individuals in the organization, along

with other information related to the gang and illegal activities, in their residences. (Id.

¶¶ 11-12; see also id. ¶¶ 32-33.) Finally, the affidavit explained that McArthur resided at

the Grant Utley Avenue residence, citing evidence that officers observed a vehicle

registered to McArthur’s girlfriend (who had resided with McArthur) parked in the alley

behind the residence and that on January 10, 2012, officers conducted surveillance of the

residence and observed McArthur exit the residence at 9:35 AM wearing a green coat,

blue boxer shorts, white socks, and what appeared to be house slippers. (Id. ¶ 36.)


       B.      Analysis

       McArthur objects to the Magistrate Judge’s recommendation that his motion to

suppress evidence stemming from these warrants be denied. The Court will overrule

these objections and adopt the Magistrate Judge’s recommendation.

       A search warrant must be based upon a finding that there is probable cause to

believe that evidence of a crime will be found in the place searched. See United States v.

Proell, 485 F.3d 427, 430 (8th Cir. 2007). Probable cause exists if, considering the

totality of the circumstances, a reasonable person could conclude that there is a “fair

probability” that the object of the search warrant may be found in the place searched.



                                           - 13 -
    CASE 0:12-cr-00026-JRT-JSM Document 848 Filed 12/12/12 Page 14 of 17



United States v. Fladten, 230 F.3d 1083, 1085 (8th Cir. 2000) (citing Illinois v. Gates, 462

U.S. 213, 238 (1983)). “[T]he duty of a reviewing court is simply to ensure that the

[issuing judge] had a substantial basis for concluding that probable cause existed.”

Gates, 462 U.S. at 238-39 (internal quotation marks and citation omitted); see also

United States v. LaMorie, 100 F.3d 547, 552 (8th Cir. 1996). Moreover, a court “may

properly rely on normal inferences drawn by the surrounding circumstances and the

allegations of facts contained in the affidavit.” United States v. Carlson, 697 F.2d 231,

238 (8th Cir. 1983) (internal quotation marks omitted).

       In addition, a search warrant may not be based on information that is stale. “A

warrant becomes stale if the information supporting [it] is not sufficiently close in time to

the issuance of the warrant and the subsequent search conducted so that probable cause

can be said to exist as of the time of the search.” See United States v. Brewer, 588 F.3d

1165, 1173 (8th Cir. 2009) (internal quotation marks omitted)). However, there is no

bright-line test for determining when information becomes stale. United States v. Estey,

595 F.3d 836, 840 (8th Cir. 2010). The Court must examine the context of a specific case

and the nature of the alleged crime. Id.

       The Court concludes that the search warrants of Maple Street and Grant Utley

Avenue were both supported by probable cause. In his objections, McArthur asserts

generally that the affidavits in support of the search warrants failed to establish the

requisite nexus between the items to be seized and the places to be searched and that the

affidavits set forth information that was largely stale. McArthur has not pointed to any

specific stale information in the affidavits, however, and the Court finds none. Similarly,


                                           - 14 -
    CASE 0:12-cr-00026-JRT-JSM Document 848 Filed 12/12/12 Page 15 of 17



the Court finds a nexus between the items to be seized and the places to be searched, and

McArthur offers no explanation for why such a nexus has not been established.

         The Maple Street affidavit explained how McArthur was the current “Chief” of the

Native Mob and involved in illegal activities, with information from a confidential

information as recent as 2010. It also stated that McArthur was residing at the Maple

Street residence as recently as February 18, 2011. Although the affidavit had no specific

information from informants about McArthur’s illegal activities after 2010, the affidavit

stated that it was common for drug traffickers to maintain the items sought by the warrant

at their homes and to retain them and not dispose of them following the commission of a

crime.     See United States v. McNeil, 184 F.3d 770, 775 (8th Cir. 1999).        Because

information about illegal activities was likely to be found in McArthur’s home at the time

of the warrant’s issuance and execution, there was probable cause for the search and

seizure.    See, e.g., United States v. Lemon, 590 F.3d 612, 614-15 (8th Cir. 2010)

(eighteen-month interval between evidence linking defendant to child pornography and

warrant application did not render the information stale); United States v. Greany, 929

F.2d 523, 525 (9th Cir. 1991) (two-year-old information not stale); United States v. Davis,

313 Fed. App’x 672, 674 (4th Cir. 2009) (one-year-old information not stale).

Furthermore, because the Native Mob was an ongoing enterprise, it was likely that

information would be discovered in McArthur’s home at the time of the warrant’s

issuance and execution. See United States v. Horn, 187 F.3d 781, 786 (8th Cir. 1999)

(“[T]he lapse of time is least important when the suspected criminal activity is continuing

in nature and when the property is not likely to be destroyed or dissipated.”).


                                           - 15 -
    CASE 0:12-cr-00026-JRT-JSM Document 848 Filed 12/12/12 Page 16 of 17



       Similarly, there was probable cause to support the Grant Utley Avenue warrant.

The affidavit stated that McArthur had led the Native Mob gang since 2007 and that he

had conducted a drug transaction as recently as May 2011. McArthur was also connected

to the Grant Utley Avenue residence in January 2012, making it likely evidence would be

found there. In addition, as with the Maple Street affidavit, this affidavit established that

the items sought by the warrant are often maintained by individuals engaged in gang-

related activities in their residences. For these reasons, the Grant Utley Avenue warrant

is supported by probable cause.11 Accordingly, the Court will adopt the Magistrate

Judge’s recommendation and deny McArthur’s motion to suppress evidence obtained as a

result of the searches and seizures.


                                         ORDER

       Based on the foregoing, and all the files, records, and proceedings herein, the

Court SUSTAINS in part and OVERRULES in part Defendant’s objections [Docket

No. 756] and ADOPTS in part and REJECTS in part the Report and Recommendation

of the Magistrate Judge [Docket No. 731]. IT IS HEREBY ORDERED that:

       1.     Defendant’s Motion to Suppress Statements [Docket No. 473] is

GRANTED in part and DENIED in part as follows:




       11
           The Magistrate Judge also recommended that the Leon good faith exception would
apply if there had not been a constitutional violation. The Court need not reach this issue
because it has found no constitutional violation.

                                           - 16 -
   CASE 0:12-cr-00026-JRT-JSM Document 848 Filed 12/12/12 Page 17 of 17



              a.    Defendant’s motion to suppress the statements made on February 18,

      2011, to Investigator Wilhelmy regarding the hit out on a Native Mob member is

      GRANTED.

              b.    Defendant’s motion to suppress his statements made on February 18,

      2011, that the marijuana found on the table in front of him was for recreational use

      and that “There ain’t gonna be no big bust here today” is GRANTED.

              c.    Defendant’s motion to suppress his statements made on February 18,

      2011, that were overheard by ATF Special Agent Russell Traurig is DENIED as

      moot.

              d.    Defendant’s motion to suppress statements made on February 2,

      2012, is DENIED as moot.


      2.      Defendant’s Motion to Suppress Evidence Obtained As a Result of Search

and Seizure [Docket No. 478] is DENIED.


DATED: December 12, 2012                          ____s/                      ____
at Minneapolis, Minnesota.                              JOHN R. TUNHEIM
                                                     United States District Judge




                                         - 17 -
